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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                      PIKEVILLE DIVISION
                           CIVIL ACTION NO. 7:20-CV-00068-REW-CJS

                                     FILED ELECTRONICALLY


LONNIE MICHAEL RATLIFF                                                                 PLAINTIFF

v.

LOWE'S HOME IMPROVEMENT, LLC
LOWE’S HOME CENTERS, LLC, and
JAMES LITTLE                                                                       DEFENDANTS

                                            ANSWER

       The Defendant, Lowe’s Home Centers, LLC (“Lowe’s Home Centers” or “Defendant”), by

counsel, submits its Answer to the Plaintiff’s Complaint.

                                         FIRST DEFENSE

       The Plaintiff’s Complaint, or some part of it, fails to state a claim upon which relief may

be granted.

                                       SECOND DEFENSE

       The Defendant denies any allegations in the unnumbered introductory paragraph of the

Plaintiff’s Complaint.

       1.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in numerical paragraph 1 of the Complaint, and therefore denies

those allegations.
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       2.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations in numerical paragraph 2 of the Complaint, and therefore denies

those allegations.

       3.      The Defendant admits the allegations in numerical paragraph 3 of the Complaint

that Lowe’s Home Improvement, LLC is a foreign limited liability company authorized to

conduct business in the Commonwealth of Kentucky with its principal office located at 1605

Curtis Bridge Road, Wilkesboro, North Carolina 28697 and with Corporation Service Company,

421 West Main Street, Frankfort, Kentucky 40601, as its agent for service of process. The

Defendant is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in numerical paragraph 3 of the Complaint and therefore denies those

allegations.

       4.      The Defendant admits the allegations in numerical paragraph 4 of the Complaint

that Lowe’s Home Centers, LLC is a foreign limited liability company authorized to conduct

business in the Commonwealth of Kentucky with its principal office located at 1605 Curtis

Bridge Road, Wilkesboro, North Carolina 28697 and with Corporation Service Company, 421

West Main Street, Frankfort, Kentucky 40601, as its agent for service of process.           The

Defendant is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in numerical paragraph 4 of the Complaint and therefore denies those

allegations.

       5.      The Defendant admits the allegations in numerical paragraph 5 of the Complaint

that James Little is presently the Store Manager of the retail store in Pike County, Kentucky

operated by Lowe’s Home Centers, LLC., and James Little resides in Kentucky. The Defendant is



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without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in numerical paragraph 5 of the Complaint and therefore denies those allegations.

       6.     The Defendant denies the allegations in numerical paragraph 6 of the Complaint.

       7.     The Defendant denies the allegations in numerical paragraph 7 of the Complaint.

       8.     The Defendant denies the allegations in numerical paragraph 8 of the Complaint

that the Plaintiff was employed by Lowe’s Home Improvement, LLC. The Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in numerical paragraph 8 of the Complaint and therefore denies those allegations.

       9.     The Defendant denies the allegations in numerical paragraph 9 of the Complaint.

       10.    The Defendant denies the allegations in numerical paragraph 10 of the

Complaint.

       11.    The Defendant denies the allegations in numerical paragraph 11 of the

Complaint.

       12.    The Defendant denies the allegations in numerical paragraph 12 of the

Complaint.

       13.    The Defendant denies the allegations in numerical paragraph 13 of the

Complaint.

       14.    The Defendant incorporates by reference its responses to numerical paragraphs

1 through 13 of the Complaint and denies the allegations in numerical paragraph 14 of the

Complaint.

       15.    The Defendant denies the allegations in numerical paragraph 15 of the

Complaint.



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          16.    The Defendant incorporates by reference its responses to numerical paragraphs

1 through 15 of the Complaint and denies the allegations in numerical paragraph 16 of the

Complaint.

          17.    The Defendant denies the allegations in numerical paragraph 17 of the

Complaint.

          The Defendant denies all other allegations in the Complaint that it has not expressly

admitted in this Answer.

                                          THIRD DEFENSE

          The Defendant relies upon all applicable defenses that arise under or may be asserted

pursuant to Kentucky’s workers’ compensation laws, Chapter 342, et. seq.

                                        FOURTH DEFENSE

          All actions taken with regard to Plaintiff were legitimate and lawfully motivated,

undertaken in good faith, for reasonable and legitimate business reasons and without malice or

ill-will toward the Plaintiff.

                                          FIFTH DEFENSE

          Any monetary relief Plaintiff seeks, or might otherwise be entitled to receive, must be

reduced by the amounts Plaintiff earned, with reasonable diligence could have earned through

mitigation, or otherwise failed to seek or accept, during the period for which he seeks monetary

relief.

                                          SIXTH DEFENSE

          The Defendant does not authorize, ratify or condone the commission of any tortious or

otherwise wrongful act by any of its employees. Any such acts would be considered outside the



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scope of their authority. The Defendant does not know of, or have reason to be aware of, any

such conduct.

                                         SEVENTH DEFENSE

       To the extent Plaintiff has failed to satisfy any conditions precedent that are necessary

to maintain his claims, or failed to exhaust administrative remedies, such claims are barred.

                                         EIGHTH DEFENSE

       The Defendant relies upon all applicable limitations periods, contractual or pursuant to

law, and all other applicable defenses based on the lack of timeliness of the Plaintiff’s claims as

a complete or partial bar to the Plaintiff’s claims.

                                          NINTH DEFENSE

       To the extent one or more of the Plaintiff’s claims are preempted, the Plaintiff’s claims

are barred.

                                          TENTH DEFENSE

       Any monetary award must be offset by amounts equal to any collateral benefits the

Plaintiff receives or is to receive, including, without limitation, unemployment benefits, Social

Security or Workers’ Compensation benefits.

                                        ELEVENTH DEFENSE

       The Defendant relies upon the defense of employment at will.

                                        TWELFTH DEFENSE

       Lowe’s Home Improvement, LLC and James Little do not employ, and have never

employed, the Plaintiff.




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                                         THIRTEENTH DEFENSE

          The Defendant relies upon the defense of failure to mitigate damages as a complete or

partial bar to the Plaintiff’s claims.

                                         FOURTEENTH DEFENSE

          The Plaintiff’s claims cannot be maintained because he has failed to allege facts

sufficient to state a claim for general and/or compensatory damages, including, but not limited

to, loss of wages or other economic damages.

                                          FIFTEENTH DEFENSE

          The Plaintiff has failed to allege facts sufficient to constitute a claim for which attorneys’

fees and costs may be awarded.

                                          SIXTEENTH DEFENSE

          The Defendant took appropriate and reasonable steps to prevent unlawful

discrimination and retaliation, including adopting an anti-discrimination and anti-retaliation

policy, and the Plaintiff failed to take reasonable steps pursuant to the policy to avoid all or

some of the conduct alleged in the Complaint, by reason of which the Plaintiff’s claims are

barred.

                                         SEVENTEENTH DEFENSE

          The Plaintiff’s claims are barred to the extent he failed to fulfill any of his obligations to

the Defendants.

                                         EIGHTEENTH DEFENSE

          The Defendant relies upon the doctrine of fraudulent joinder.




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                                       NINETEENTH DEFENSE

          Contrary to the allegations in the Plaintiff’s Complaint, all decisions concerning the

Plaintiff were based on ordinary business judgment of the Plaintiff’s employer and not on any

discriminatory, retaliatory, or otherwise illegal motive. The Defendant expressly denies that

any unlawful factor motivated them with respect to the decisions that are the subject of this

action.

                                        TWENTIETH DEFENSE

          The Defendant had legitimate, nondiscriminatory business reasons for its actions.

                                      TWENTY-FIRST DEFENSE

          The Plaintiff has failed to state a claim for which punitive damages are recoverable.

                                     TWENTY-SECOND DEFENSE

          The Defendant relies upon all applicable constitutional, statutory and/or common law

bars to or limitations on any award of punitive damages, including, but not limited to, those

found in KRS 411.184, et. seq.

                                      TWENTY-THIRD DEFENSE

          The Defendant relies upon the affirmative defense of unclean hands.

          The Defendant reserves the right to assert additional affirmative defenses, including

those not presently known but which subsequently become apparent.

          WHEREFORE, having fully answered, the Defendant prays:

          1.     That the Court dismiss the Plaintiff’s Complaint with prejudice;

          2.     That the Court enter judgment in favor of the Defendant;




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       3.     That the Defendant recover from the Plaintiff all costs and expenses incurred in

this action, including, but not limited to, expert witness fees and expenses and reasonable

attorneys’ fees and expenses; and

       4.     That the Court award the Defendant all other relief to which it is entitled

                                                 Respectfully submitted,

                                                 /s/ Elizabeth S. Muyskens
                                                 Richard G. Griffith
                                                 Elizabeth S. Muyskens
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                                                         elizabeth.muyskens@skofirm.com

                                                 COUNSEL FOR DEFENDANTS




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served a true copy of the foregoing ANSWER by email and
regular U.S. mail, postage prepaid, this 28th day of May, 2020, upon the following:

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                                                  /s/ Elizabeth S. Muyskens
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